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                    EXHIBIT 39
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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS



STUDENTS FOR FAIR ADMISSIONS, INC.,

                       Plaintiff,
               v.
                                                                     Civil Action No.
                                                                     1:14-cv-14176-
                                                                     ADB

PRESIDENT AND FELLOWS OF HARVARD
COLLEGE (HARVARD CORPORATION),

                       Defendant.


               PLAINTIFF’S OBJECTIONS AND RESPONSES TO
             DEFENDANTS’ SECOND SET OF INTERROGATORIES

       Pursuant to Rule 33 of the Federal Rules of Civil Procedure and Local Rule 33,

Plaintiff Students for Fair Admissions, Inc. (“SFFA”) submits the following objections

and responses to Defendant, President and Fellows of Harvard College’s (“Harvard”)

Second Set of Interrogatories, dated May 19, 2017.

                                GENERAL OBJECTIONS

       SFFA makes the following general objections to Harvard’s Second Set of

Interrogatories, which apply to each interrogatory regardless of whether the general

objections are specifically incorporated into the specific objections below.

       1.      SFFA objects to each interrogatory to the extent it calls for information

that is protected from discovery by the attorney-client privilege or the work product

doctrine, or that are otherwise protected from disclosure under the Federal Rules of Civil

Procedure, the Federal Rules of Evidence, and the relevant statutory or case law.




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 Smith Tr. at 63-64; Khurana Tr. 102-109. Likewise, Harvard has not given any serious

 consideration to race-neutral alternatives examined by other schools, such as a top 10%

 plan, or using a holistic admissions process that does not consider the use of race. See,

 e.g., McGrath Tr. 255-57; Smith Tr. 123-125; Faust Tr. 52.

        Moreover, it is apparent that Harvard has myriad race-neutral alternatives at its

 disposal that could achieve student body diversity without the use of racial

 classifications. Such race-neutral alternatives include, but are not limited to, (1)

 increasing the use of non-race-based preferences, such as socioeconomic and/or

 geographic factors, in its admissions process; (2) increasing the use of financial aid,

 scholarships, and recruitment to attract and enroll minority applicants; and (3)

 eliminating admissions policies and practices that operate to the disadvantage of

 minority applicants. See, e.g., Harvard’s Electronic Database of Applicants;

 HARV00005694; HARV000069119; HARV00032626-32685.

INTERROGATORY NO. 14
         If you contend that Harvard engages in intentional or invidious discrimination
         against Asian-American applicants in its undergraduate admissions process,
         state the basis for the contention and identify with particularity all facts
         supporting your contention.

RESPONSE TO INTERROGATORY NO. 14
       SFFA objects to this interrogatory as overly broad, unduly burdensome, and not

proportional to the needs of this case. SFFA further objects to this interrogatory to the

extent it seeks privileged information, including information protected from disclosure

by the attorney-client or attorney work product privileges. SFFA furthers object to this

interrogatory to the extent it seeks to impose any burdens beyond the scope of the

Federal Rules of Civil Procedure or the local rules, including the fact that this request is




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premature because discovery remains ongoing and SFFA is not yet required to serve its

expert reports. SFFA further objects to this interrogatory to the extent it is overbroad

and unduly burdensome because it seeks a response that identifies “all facts” supporting

its contention.

       Subject to and without waiving its objections, SFFA responds as follows:

Harvard has intentionally discriminated against Asian-American applicants for

admission on the basis of race or ethnicity based on, inter alia, prejudicial and

stereotypical assumptions about them. Evidence produced in this case to date indicates

that Harvard’s admissions system has a disproportionately negative effect on Asian-

American applicants for admission that is not explainable on grounds other than

intentional discrimination on the basis of race or ethnicity. See, e.g., HARV00031718-

31724; HARV00065741-65757; HARV00023548-23555; HARV00030303; Harvard’s

Electronic Database of Applicants.

       Other evidence of intentional discrimination includes testimony from Harvard’s

witnesses confirming they were not bothered or concerned about repeated allegations of

discrimination against Asian-Americans by the admissions office. See, e.g., Faust Tr.

228-31; Khurana Tr. 257-60. Indeed, Harvard officials also have made racially

stereotypical statements assuming that, as a group, Asian Americans all have the same

academic interests, experiences, and personal attributes and that Asian Americans, as a

group, lack certain qualities that Harvard values. See, e.g., HARV00077139. Harvard

officials have also made and tolerated statements indicative of prejudicial and

stereotypical views about Asian-American applicants for admission. See, e.g.,

HARV00032339; HARV00029940-45. These statements and other evidence arise in the




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context of an admissions process that has historically been used to limit the numbers of

other disfavored groups who were qualified for admission to Harvard. See, e.g.,

Khurana Tr. 125-27; McGrath Tr. 289-290.

INTERROGATORY NO. 15
         If you contend that Harvard’s undergraduate admissions process considers race
         as the defining feature of an application rather than one factor within the full
         context of the entire application, state the basis for the contention and identify
         with particularity all facts supporting your contention.

RESPONSE TO INTERROGATORY NO. 15
       SFFA objects to this interrogatory as overly broad, unduly burdensome, and not

proportional to the needs of this case. SFFA further objects to this interrogatory to the

extent it seeks to improperly shift Harvard’s burden to SFFA. Specifically, it is

Harvard’s burden (and not SFFA’s burden) to demonstrate that its admitted use of racial

classifications satisfies strict scrutiny and are narrowly tailored to achieve a compelling

interest in the alleged educational benefits of diversity it espouses. SFFA further objects

to this interrogatory to the extent it seeks privileged information, including information

protected from disclosure by the attorney-client or attorney work product privileges.

SFFA furthers object to this interrogatory to the extent it seeks to impose any burdens

beyond the scope of the Federal Rules of Civil Procedure or the local rules, including

the fact that this request is premature because discovery remains ongoing and SFFA is

not yet required to serve its expert reports. SFFA further objects to this interrogatory to

the extent it is overbroad and unduly burdensome because it seeks a response that

identifies “all facts” supporting its contention.

       Subject to and without waiving its objections, SFFA responds as follows:

Harvard does not evaluate each applicant for admission as an individual. Instead, race or




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Signed under the penalties of perjury this 20th day of July, 2017.



                                          _____________________________
                                          Edward Blum
                                          on behalf of Students For Fair Admissions, Inc.



                                          As to Objections:

                                          /s/ William S. Consovoy


                                           William S. Consovoy
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                                           Counsel for Plaintiff Students for Fair
                                           Admissions, Inc.
       Dated: July 20, 2017




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